        Case:17-11810-MER Doc#:35 Filed:05/20/17                              Entered:05/20/17 22:31:08 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: mckinleyj                    Page 1 of 1                          Date Rcvd: May 18, 2017
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 20, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 20, 2017                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 18, 2017 at the address(es) listed below:
              Chapter 13 Trustee - Zeman   on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton   on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman    mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 4
Case:17-11810-MER Doc#:35 Filed:05/20/17          Entered:05/20/17 22:31:08 Page2 of 2
                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                         The Honorable Michael E. Romero


    In re:
                                               Case No. 17-11810 MER
    JUDITH JEAN SCHNEIDER
                                               Chapter 13
        Debtor.

                                          ORDER

       THIS MATTER comes before the Court on Debtor’s Certificate and Motion to
   Determine Notice, filed with the Court on May 16, 2017. The Court, being advised
   in the premises, ORDERS that:
   1. Confirmation of Debtor’s Chapter 13 plan filed March 16, 2017 is DENIED. All
      pending objections are deemed moot. Any party desiring to object to a future
      plan must file a new objection.
   2. The confirmation hearing currently scheduled for May 22, 2017 is VACATED.
      The Court will conduct a non-evidentiary confirmation hearing on a trailing
      docket on Monday, July 10, 2017, at 1:30 p.m. in Courtroom C, U.S. Custom
      House, 721 19th Street, Denver, Colorado. Absent the entry of the order
      confirming the plan or rescheduling the hearing, Debtor’s counsel is required to
      appear at the confirmation hearing. If a telephonic appearance is allowed, the
      docket posted on the Court’s website will include the call-in information.
   3. On or before May 24, 2017, the Debtor shall file and serve a notice in
      substantial conformity with L.B.R. 3015-1.8 to all creditors and parties in
      interest, along with a copy of the Amended Chapter 13 Plan filed on May
      16, 2017. The deadline for objections shall be June 21, 2017. Failing to file
      the notice and a certificate of service by the above date shall establish cause for
      dismissal of the within case.
   4. If the confirmation involves a contested factual issue regarding presentation of
      evidence, the hearing will be used as a status and scheduling conference
      wherein the Court will set the appropriate dates and deadlines for an evidentiary
      hearing. If objections are filed to the amended plan, the Debtor shall file a
      certificate and motion to determine notice, pursuant to L.B.R. 3015(g). If no
      objections are received to the amended plan, the Debtor shall file a verification
      in compliance with L.B.R. 3015(f). Either a verification or a certificate and
      motion to determine notice must be filed on or before July 3, 2017.
   5.
    Dated May 18, 2017                         BY THE COURT:


                                               _________________________
                                               Michael E. Romero, Chief Judge
                                               United States Bankruptcy Court
